                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                       v.                             )       No. 06-4002-01-CR-C-NKL
                                                      )
RODNEY KEITH RODEBAUGH,                               )
                                                      )
                               Defendant.             )

                            REPORT AND RECOMMENDATION

       This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.
       On December 4, 2006, a hearing was held on the respective motions for bill of
particulars, severance, disclosure of confidential informants, and suppression filed by
codefendants Cyrus Pope, Douglas Comstock, Calvin Corley and Olan George. All defendants
had the opportunity to present evidence and to cross-examine any witnesses.
       Defendant Rodney Keith Rodebaugh’s motion to compel disclosure of the identity of
confidential informers and/or plea agreements or other consideration relating thereto was not
addressed at the hearing; however, a hearing was held on defendant’s motion on February12,
2007, at which the parties stipulated to the facts of the December 4, 2006 hearing. All witnesses
for the Government have been or will be identified prior to trial.
       Defendant has failed to show that disclosure, prior to the time required by the Jencks Act,
18 U.S.C. § 3500, of confidential informants or “implanted infiltrators” is necessary to ensure a
fair trial, or is beneficial to defendant’s defense. Defendant has raised no specific issue, such as
entrapment, which would justify or necessitate an earlier disclosure of such individuals. The
Constitution does not require that prosecutors disclose the identity of confidential informants in
every case. McCray v. Illinois, 386 U.S. 300 (1967). To justify the compelled disclosure of a
confidential informant’s identity, a defendant must show that his right to the information
outweighs the Government’s traditional privilege to withhold it. Roviaro v. United States, 353
U.S. 53, 59-62 (1957). “In order to override the Government’s privilege of nondisclosure,



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defendants must establish beyond mere speculation that the informant’s testimony will be
material to the determination of the case." United States v. Harrington, 951 F.2d 876, 877 (8th
Cir. 1991). An informant’s testimony is material if it is necessary to ensure a fair trial or is
relevant and helpful to the defense theory or the case. Id. Under this standard, the identity of a
“tipster” whose observations formed the basis for a search warrant but who will not be a witness
at trial is not subject to compulsion. United States v. Moore, 129 F.3d 989, 992 (8th Cir. 1997).
In a motion to compel disclosure of a confidential informant, the defendant bears the burden of
demonstrating a need for disclosure. Id. (citing Roviaro v. United States, 353 U.S. 53, 59
(1957)). Defendant Rodebaugh has failed to show that the confidential informants, who will not
testify for the Government, have any evidence which is material to any issue in this case.
       Based upon the foregoing, the law does not require the Government to disclose
confidential informants prior to trial. This court’s pretrial scheduling order requires
identification of all governmental witnesses no later than seven days prior to trial. Thus,
information concerning plea agreements and inducements is also to be made available prior to
trial. The Government has indicated it will comply with that order. Earlier disclosure is not
required.
       IT IS, THEREFORE, RECOMMENDED that defendant’s motion to compel disclosure
of the identity of confidential informers and/or plea agreements or other consideration relating
thereto be denied. [225]
       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 5th day of April, 2007, at Jefferson City, Missouri.


                                               /s/   William A. Knox
                                               WILLIAM A. KNOX
                                               United States Magistrate Judge

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